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             IN THE UNITED STATES DISTRICT COURT
           FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

JOHN DOE,                                    :           No. 17-CV-01315
                                             :
                   Plaintiff,                :           (Judge Brann)
                                             :
      v.                                     :
                                             :
THE PENNSYLVANIA STATE                       :
UNIVERSITY, THE PENNSYLVANIA                 :
STATE UNIVERSITY BOARD OF                    :
TRUSTEES, ERIC J. BARRON, individually:
and as agent for The Pennsylvania State      :
University, PAUL APICELLA, individually :
and as agent for The Pennsylvania State      :
University, KAREN FELDBAUM,                  :
individually and as agent for The            :
Pennsylvania State University,               :
KATHARINA MATIC, individually and as :
Agent for The Pennsylvania State University, :
                                             :
                   Defendants.               :

                                     ORDER

                              NOVEMBER 14, 2017

      Before the Court for disposition is Plaintiff John Doe’s Motion for

Contempt. For the following reasons, this Motion will be denied.




                                        1
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       Courts possess “inherent power to enforce compliance with their lawful

orders through civil contempt.”1 To prove civil contempt, the court must find that:

(1) a valid court order existed; (2) the defendant had knowledge of the order; and

(3) the defendant disobeyed the order.2 These elements must in turn be established

by clear and convincing evidence.3 “Clear and convincing” evidence is defined at

that which:

               produces in the mind of the trier of fact a firm belief or conviction as
               to the truth of the allegations sought to be established, evidence so
               clear, direct and weighty and convincing as to enable the fact finder to
               come to a clear conviction, without hesitancy, of the truth of the
               precise facts. . .4

In the instant matter, Plaintiff moved to hold Defendants The Pennsylvania State

University, Danny Shaha, and Karen Feldbaum in civil contempt for violating this

Court’s August 18, 2017 Order by scheduling a second Title IX Decision Panel

hearing.5 Defendants, however, have since abandoned their plans of holding this




1
    Shillitani v. United States, 384 U.S. 364, 370 (1966)(citing United States v. United Mine
    Workers, 330 U.S. 258, 330–332 (1947)).
2
    See Harris v. City of Phila., 47 F.3d 1311, 1326 (3d Cir. 1995) (citing Roe v. Operation
    Rescue, 919 F.2d at 871).
3
    Id. at 1321.
4
    United States v. Bell, Civil Action No. 01-CV-2159, 2003 WL 22474723 (M.D.Pa. Sept. 3,
    2003)(Conner, J.)(quoting Cruzan by Cruzan v. Director, Mo. Dept. of Health, 497 U.S. 261,
    285 n. 11 (1990)).
5
    ECF No. 58, at 2.


                                              2
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hearing.6 The motion for contempt, already prospective in its aim, is therefore

denied as moot.

       AND NOW, therefore, IT IS HEREBY ORDERED that:

    1. Plaintiff John Doe’s Motion for Contempt (ECF No. 58) is DENIED AS

       MOOT.

    2. The Court will hold oral argument on Defendants’ Motion for Dismiss, ECF

       No. 50, on December 8, 2017 at 10:00 a.m. in Courtroom One, Fourth

       Floor, United States Courthouse and Federal Building, 240 West Third

       Street, Williamsport, Pennsylvania, 17701.

    3. At the time of the oral argument, both parties may submit to the Court three

       (3) copies of a concise Table of Authorities, listing the legal sources upon

       which they plan to rely during the course of the hearing.

    4. At that time, both parties may also submit to the Court three (3) complete

       exhibit lists and three (3) complete sets of exhibits for the Court’s use, in

       addition to the original copies that will be offered into evidence, if any. The

       Court’s standard exhibit list template is attached to this Order. Because the

       hearing will proceed as an oral argument and not in an evidentiary format,

       not every column on that template list will be relevant for the purposes of

       the hearing. The lists and any accompanying exhibits shall be contained in

6
    ECF No. 62.


                                           3
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tabbed 3-ring binders. At the conclusion of the hearing, counsel shall be

responsible for assuming custody of all of the original copies of their

exhibits. Because the hearing will proceed as an oral argument at the motion

to dismiss stage and not as an evidentiary hearing, provision of or reliance

upon exhibits may be unnecessary.




                                       BY THE COURT:



                                       s/ Matthew W. Brann
                                       Matthew W. Brann
                                       United States District Judge




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Caption: ______________________________
       Columbia Gas v. Herr
       4:13-cv-0783
Case No.:           & 785
          _____________________________
       Judge Brann
Judge: ________________________________

                                        EXHIBIT LIST

               Completed by Counsel                     Completed by Courtroom Deputy
 Exhibit No.                                         Date       Date
                       Exhibit Description                                   Witness
  (P/D-#)                                          Identified Admitted




                                             1
